Case 2:16-cv-00543-JRG-RSP Document 148 Filed 12/21/18 Page 1 of 9 PageID #: 11354



                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION
   BYTEMARK, INC.,                   §
                                     §
         Plaintiff,                  §
     vs.                             §   Civil Action No. 2:16-cv-00543-JRG/RSP
                                     §
   MASABI LTD.,                      §   JURY TRIAL DEMANDED
                                     §
         Defendant.                  §

           DEFENDANT MASABI’S RESPONSE TO PLAINTIFF BYTEMARK’S
          OBJECTIONS TO THE REPORT AND RECOMMENDATION (DKT. 146)

          Masabi hereby responds to Bytemark’s Objections to the R&R and requests that the R&R

   be adopted and it should be affirmed that Bytemark’s patents are not patent-eligible.

          A.      Magistrate Payne Properly Analyzed the Claims of the ‘967 and ‘993 Patents

          Bytemark improperly alleges that Masabi failed to establish claim 1 of the ‘967 patent

   and claim 1 of the ‘993 patent were “representative claims” and that Magistrate Payne

   “overreached by extending his holding to all the claims.” Dkt. 147, p. 2 (“Obj”). Bytemark cites

   to Content Extraction & Transmission LLC v. Wells Fargo Bank, N.A., 776 F.3d 1343, 1348

   (Fed. Cir. 2014). However, Masabi argued all the asserted claims included recitations amounting

   to abstract ideas. Likewise, Magistrate Payne properly analyzed all the asserted claims in his

   determination of patent ineligibility. Finally, Content Extraction supports a finding of patent

   ineligibility for all asserted claims when, as here, “the claims of the asserted patents are

   substantially similar in that they recite little more than the same abstract idea.”     Content

   Extraction, 776 F.3d at 1348.

          Masabi specifically addressed the content of the dependent claims of the ‘967 and ‘993

   patents: “In much the same way as the independent claims, the dependent claims rely on

   conventional equipment or steps and fail to transform the abstract idea into something
Case 2:16-cv-00543-JRG-RSP Document 148 Filed 12/21/18 Page 2 of 9 PageID #: 11355



   more…These, however, lack any inventive concept to salvage the underlying abstract ideas.”

   Dkt. 113, pp. 30-31. This assertion alone supports Magistrate Payne’s holding to all the claims

   of the ‘967 and ‘993 patents. In addition, there is virtually no support to argue that claims 1 of

   the ‘967 and ‘993 patents are NOT representative claims. All of the independent claims of both

   patents recite nearly identical systems and utilize nearly identical claim language (as recognized

   by Magistrate Payne, Dkt. 146, p. 3, referred to as the “R&R”). “Furthermore, the dependent

   claims of both patents lack any inventive concept to savage the underlying abstract ideas as

   properly asserted by Masabi.”

           Magistrate Payne clearly and properly recognized the lack of diversity in the claims of

   the ‘967 and ‘993 patents with respect to inventive concepts. His analysis:

           The claim language of claims 1, 17 and 18 of the ‘967 patent and claims 1 and 8

           of the ‘993 patent are mirrored word for word…. (Dkt. 146, p. 3)

           Magistrate Payne further made an analysis of the asserted dependent claims of the ‘967

   patent and ‘993 patent, in an analysis similar to that provided in Masabi’s Motion, and found that

   the recitations contained therein did not change the analysis: “Finally, although claim 1 of both

   patents is sufficiently representative, see Content Extraction, 776 F.3d at 1348, the dependent

   claim limitations do not alter the analysis.” Dkt. 146, p. 13. Magistrate Payne addressed the lack

   of content in the dependent claims of both patents as capable of altering the analysis of

   invalidity.

           Finally, Bytemark’s sole basis for arguing that claims of the patents are NOT

   representative stem from their cited recitation from claim 13 of the ‘993 patent (depending on

   independent claim 8) reciting “without a network connection”. Dkt. 147, p. 2. However,

   Bytemark failed to provide any analysis, or argument as to how a recitation to a lack of network



                                                   2
Case 2:16-cv-00543-JRG-RSP Document 148 Filed 12/21/18 Page 3 of 9 PageID #: 11356



   connection is an innovative concept or alters the analysis of Masabi or Magistrate Payne. In fact,

   the recitations of claim 13 of the ‘993 patent clearly do not represent an innovative concept and

   do nothing to move the abstract idea of independent claim 8. The R&R by Magistrate Payne is

   supported and well-reasoned.

          B.      The Objections Fail to Address the Abstract idea of “verifying authenticity of
                  an electronic ticket” or Identify any Claim Elements that are Supposedly Not
                  Directed to an Abstract Idea under Part One of the Alice test.

          Bytemark objects to the holding that the claims are directed to an abstract idea on the

   basis that the cases supporting this decision are supposedly “inapposite.” Dkt. 147, p. 3. The

   Objections, however, fail to address why the asserted claims are supposedly not directed to

   abstract idea of “verifying authenticity of an electronic ticket” or identify any legal or factual

   errors in the R&R for arriving at this holding. Nor do the Objections propose an alternative that

   would have been supposedly more appropriate for consideration under part one of the Alice Corp

   test. Further, the Objections fail to identify a single recitation of the claims that is supposedly

   not directed to the abstract idea according to the R&R.

          Bytemark alleged issues with reliance on Intellectual Ventures I LLC v. Capital One

   Bank (USA), 792 F.3d 1363, 1367, 1370 (Fed. Cir. 2015) (“Intellectual Ventures 2015”) and

   Smart Sys. Innovations, LLC v. Chi. Transit Auth., 873 F.3d 1364, 1372 (Fed. Cir. 2017) (“Smart

   Systems 2017”) and implied that the holding should have instead been based on Thales Visionix

   Inc. v. United States, 850 F.3d 1343, 1347 (Fed. Cir. 2017) (“Thales”).             The Objections

   mischaracterize the R&R and fail to identify any errors associated with the same.

          As reflected on pp. 11-16, the R&R applied a variety of decisions from the CAFC. The

   R&R stated that “the claims are a hybrid of two categories of claims routinely invalidated under

   §101” (p. 15) - the first category being “collecting, storing, recognizing, and manipulating data,

   or encoding or decoding data, to make the data human- or machine-readable” while citing to
                                                   3
Case 2:16-cv-00543-JRG-RSP Document 148 Filed 12/21/18 Page 4 of 9 PageID #: 11357



   Smart Systems 2017 and the second being “business practices or financial transactions” while

   citing to Intellectual Ventures I LLC v. Capital One Fin. Corp., 850 F.3d 1332, 1340-41 (Fed.

   Cir. 2017) (“Intellectual Ventures 2017”). Dkt. 146, p. 15. In addition, the R&R relied on

   Visual Memory LLC v. NVIDIA Corp., 867 F.3d 1253, 1259 (Fed. Cir. 2017) to establish that the

   asserted claims “do not resemble claims directed to improved computer technology that have

   survived scrutiny under Alice step one.” Dkt. 146, p. 16. Thus, the R&R considered a variety of

   cases not limited to those involving financial transactions.

             Contrary to the Objections implying that Thales was overlooked, the R&R applied Thales

   to determine that the asserted claims do not recite a technological improvement under part one of

   the two-part analysis under Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 134 S. Ct. 2347 (2014). See

   Dkt. 146, pp. 11 and 16.        After considering whether any “improvement[s] to computer

   functionality” (p. 11) and “technological improvement[s]” (Id.) of the asserted claims, the R&R

   held that the claimed “computers, services, and devices” that use “conventional functions” to

   “verify the authenticity of a ticket quickly and efficiently,” the R&R determined that this is “not

   an improvement to technology itself.”       (Id., at 12.)      The Objections failed to identify any

   technological improvements that are recited in the claims, but instead merely referenced Dr.

   Gottesman’s testimony regarding a token that is generically claimed and allegedly non-

   conventional, and unclaimed security protocols. As such, Bytemark failed to identify a single

   technological improvement that is recited in the claims. The claims are abstract according to

   Thales.

             Also, Smart Systems 2017 was an affirmance by the CAFC of Smart Sys. Innovations,

   LLC v. Chi. Transit Auth (No. 14 C 08053, 2015 WL 4184486, at *5-6 and *16 (N.D. Ill. July

   10, 2015) (“Smart Systems 2015”), which was one of the leading cases in Masabi’s Motion for



                                                     4
Case 2:16-cv-00543-JRG-RSP Document 148 Filed 12/21/18 Page 5 of 9 PageID #: 11358



   Summary Judgment of Invalidity (Dkt. 113, p. 22, “Motion”).              Bytemark’s Opposition to

   Summary Judgment (Dkt. 121, “Opposition”) was after both these decisions, but Bytemark

   addressed this for the first time in its Objections. As stated in the Motion (pp. 22-23 and 30),

   Smart Systems 2015 held that “an identifying token” for “validating entry” into a transit network

   is “drawn to the abstract concept of a fundamental commercial transaction, paying for a fare”

   that is ineligible under the first step of the Alice (*5-6 and *16) and “[t]he server/computer

   system and user/remote device exchange information after validating a token [is] a purely

   conventional function” (*5). Similar to these decisions, Bytemark’s Objections and Opposition

   briefs fail to identify any non-conventional function that is recited by the claims.

          In attempting to sidestep the abstract language of the asserted claims, the Objections

   alleged that “the Bytemark patent claims’ (sic) use of various known computer components (e.g.,

   servers, devices) in a non-conventional manner reduces errors associated with bar coding.” Dkt.

   147, p. 4. Not only is this supposed “error reduction” for the first time fabricated in the

   Objections with no mention in the Opposition, but the asserted claims are completely silent

   regarding “error reduction.” Further, Bytemark admitted that the asserted claims merely use

   “known computer components,” but alleged that an unspecified “non-convention manner”

   should somehow save the asserted claims. Id. Regardless of the unclaimed “non-conventional

   manner”, the R&R appropriately acknowledged the CAFC’s precedent “is clear that merely

   adding computer functionality to increase the speed or efficiency of the process does not confer

   patent eligibility on an otherwise abstract idea.” Dkt. 146, p. 12 (citing to Intellectual Ventures

   2015, at 1370). The asserted claims of the patents are abstract.




                                                     5
Case 2:16-cv-00543-JRG-RSP Document 148 Filed 12/21/18 Page 6 of 9 PageID #: 11359



          C.      The Objections Mischaracterize the R&R and Still Fail to Identify an
                  Inventive Concept Recited by the Claims according to Part Two of the Alice
                  test.

          The Objections alleged that the R&R erroneously concluded that the asserted claims lack

   an inventive concept, allegedly for the analysis not reflecting “specific combinations of

   limitations that embody the inventor’s asserted advance over the prior art” with respect to claims

   22 and 24, not providing “any analysis or reasoning sufficient to establish that these limitations

   are not inventive,” and for supposedly failing to “articulate and apply the controlling evidentiary

   standard to the section 101 subject matter eligibility issue” while citing to Berkheimer v. HP Inc.,

   881 F.3d 1360, 1368 (2018) (“Berkeimer”). Dkt. 147, p. 5. Contrary to the misrepresentations

   in the Objections, pages 25-31 of the Motion and pages 16-18 of the R&R contain

   comprehensive analysis and reasoning to establish that the asserted claims lack an inventive

   concept under part two of the Alice test. In reply to the Motion, the Opposition merely reiterated

   elements of claim 1 of each of the ‘993 and ‘967 Patents (Dkt. 147, pp. 18-19), but it failed to

   identify a particular inventive concept recited by any of the asserted claims, and certainly did not

   even mention claims 22 and 24 that are raised for the first time in the Objections. Similar to this

   case, Berkheimer acknowledges that “not every § 101 determination contains genuine disputes

   over the underlying facts material to the § 101 inquiry.”         Berkheimer, 881 F.3d at 1368.

   Bytemark has yet to identify an inventive concept that is recited by the claims, and thus no

   material issues exist. The R&R was proper.

          D.      Magistrate Payne Properly Concluded There Are No Disputed Underlying
                  Facts

          Bytemark argues Magistrate Payne erred in concluding there are no disputed underlying

   facts and that whether a claim element of grouping of claim elements is well understood, routine,




                                                    6
Case 2:16-cv-00543-JRG-RSP Document 148 Filed 12/21/18 Page 7 of 9 PageID #: 11360



   and conventional. Dkt. 147, p. 6. The R&R properly found that Bytemark demonstrated no

   relevant disputed underlying facts in this case. Dkt. 146, p. 11.

           Bytemark attempts to utilize its expert’s, Dr. Gottesman, testimony to establish that the

   patent recites elements that amount to “non-conventional security protocols” and that these

   somehow represent an underlying disputed fact. Dkt. 147, p. 7. Bytemark, however, failed to

   disclose that “security protocols” are not recited in any claims of the ‘967 and ‘993 patents – thus

   the argument is irrelevant. Magistrate Payne did, in fact, take such facts in the favor of the non-

   moving party as is proper. Dkt. 146, p. 16.

           Bytemark’s expert Dr. Gottesman’s Ipse Dixit statements claimed there was new and

   improved technology which amounted to significantly more than an abstract idea. However,

   ipse dixit testimony from an expert is often insufficient, as here, to preclude summary judgment.

   See Parallel Networks LLC v. Kayak Software Corporation, 704 F.3d. 958, 970 (Fed. Cir. 2013).

   Bytemark’s expert provided no FACTS in support of his statements and, therefore, no disputed

   fact exists.   "[T]to defeat the motion the non-movant must present sufficient evidence to show

   an evidentiary conflict as to the material fact in dispute. . . with due consideration to the

   evidentiary burdens." Opryland USA Inc. v. Great American Music Show, Inc., 970 F.2d 847,

   850 (Fed. Cir. 1992).

           In addition, Magistrate Payne clearly did consider Dr. Gottesman’s legal conclusions and

   found them devoid of any disputed underlying facts:

           The claims of the ’967 and ’993 patents may have improved the way ticket takers
           verify the authenticity of an electronic ticket… But under the law as it stands
           today, the asserted claims are not patent-eligible. (Dkt. 146, pp. 17-18). The
           Court finds no relevant disputed underlying facts in this case, nor has Plaintiff
           demonstrated any. (Dkt. 146, p. 11). [T]he asserted claims do not include an
           inventive concept sufficient to move the claims away from the abstract idea. (Dkt.
           146, p. 16).



                                                    7
Case 2:16-cv-00543-JRG-RSP Document 148 Filed 12/21/18 Page 8 of 9 PageID #: 11361



             Magistrate Payne properly assessed the lack of disputed underlying facts, and properly

   considered the ipse dixit legal conclusions of Dr. Gottesman as not rising to the level of disputed

   underlying facts.

             E.        Magistrate Payne Rightfully Considered Bytemark’s Pending Patent
                       Applications

             Bytemark argued Magistrate Payne “gave improper weight to pending applications

   involving other Bytemark patents with different claims and claim elements.” Dkt. 147, p. 7.

   Magistrate Payne’s referrals to the pending family patent applications arises in his background

   discussion (pp. 7-10). Within his analysis (pp. 13-15), Magistrate Payne makes no reference of

   analysis of the related patents or pending applications but rather properly focuses on the

   specification and prosecution history of the ‘967 and ‘993 patents. Pages 13-15 of the R&R

   properly review details of the prosecution and its impact on the claims. Bytemark offers no

   arguments as to what elements of the prosecution are in dispute or raise an issue of material fact.

             F.        The Objections Fail to Identify Any Issues Associated with Preemption

             The Objections discuss the general concept of preemption, which was addressed in the

   R&R on page 17. The Objections, however, fail to identify any supposed factual or legal issues

   with the R&R, or identify an environment recited by the claims that would narrow them to

   supposedly alleviate the preemption concerns. Thus, no such issues exist, and the R&R was

   proper.        For these reasons, the R&R should be respectfully adopted.

   Dated: December 21, 2018                         Respectfully submitted,
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                                                       8
Case 2:16-cv-00543-JRG-RSP Document 148 Filed 12/21/18 Page 9 of 9 PageID #: 11362




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                                    CERTIFICATE OF SERVICE

          I hereby certify that on December 21, 2018, I electronically filed the foregoing paper with

   the Clerk of the Court using the CM/ECF system, and a true and correct copy of the foregoing

   paper has been electronically served on all counsel of record pursuant to Local Rule CV-

   5(a)(3)(A).

                                                       By:     /s/ Douglas P. LaLone
                                                               Douglas P. LaLone




                                                   9
